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 (Rev. 1/12/2024)

                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF LOUISIANA
                                    ALEXANDRIA DIVISION


                Christine Dorribo                              Civil No. 1:25-CV-00262
                        Plaintiff

                      VS.                                         Judge Edwards
      Bd. of Supervisors for UL System &​              Magistrate Judge Perez-Montes
             James Genovese
                  Defendant

                            RULE 26(f) CASE MANAGEMENT REPORT

 A meeting of counsel (and any unrepresented parties) was held on May 28, 2025, by telephone.

 The following attorneys participated: ​
 ​      Representing Plaintiff: Dalton Courson and Roya Khosravi​
 ​      Representing Defendants: Joshua Dara

 1.​ Nature of Plaintiff’s Claim: (Identify the basic nature of Plaintiff’s primary claim. For
     example, “employment discrimination (sex),” “personal injury (slip and fall),” “civil rights
     (excessive force),” “copyright infringement (software)” or “breach of contract (oil and
     gas).” Do not summarize or restate the allegations of the complaint.

 Employment discrimination (disability).

 2.​ Bench or Jury Trial: (Has any party demanded a trial by jury? If so, identify the pleading
     containing the jury demand.)

 Jury trial. Defendants requested a jury trial in their Answer, Rec. Doc. 6, at paragraph 76.

 3.​ Initial Disclosures: (Have the parties exchanged initial disclosures? If not, explain.)

 The Court’s Order dated May 27, 2025 (Rec. Doc. 7), establishes a deadline of June 20, 2025, for
 the exchange of initial disclosures. Plaintiff has provided her disclosures to Defendants.

 4.​ Jurisdiction: (Does any party challenge the court’s subject matter jurisdiction over this
     case? If so, briefly explain the basis for the challenge.)

 Defendants reserve the right to raise a challenge to subject matter jurisdiction.

 5.​ Joinder of Parties and Amendment of Pleadings:

      A.​ Does any party anticipate seeking leave to amend a pleading or add a party?
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 Not at this time.

    B.​ If so, describe briefly the anticipated amendments and identify any potential new parties
        and the nature of the claim against them.

 N/A

    C.​ State a proposed deadline for all amendments. If any party requests a deadline that is
        more than 30 days after the date of the scheduling conference, provide a detailed
        explanation.

 July 25, 2025 (30 days after the scheduling conference)

 6.​ Discovery Issues: (Absent stipulation or leave of court, the court will enforce the limitations
     on discovery in the F.R.C.P., including no more than 10 depositions per side [Rule 30(a)(2)];
     each deposition is limited to one day of seven hours [Rule 30(d)(2)]; and no more than 25
     interrogatories per party [Rule 33(a)]. With those rules, and the issues identified in F.R.C.P.
     26(f)(1)-(4), in mind:)

    A.​ Each party shall briefly describe (i) any discovery disputes the party anticipates may
        arise and (ii) any relief the party requests from the court in connection with the discovery
        issues.

 No particular discovery disputes are anticipated at this time. The parties contemplate entry of a
 joint protective order regarding disclosure of confidential information.

    B.​ State a proposed deadline for completion of fact discovery. If any party requests a
        deadline that is more than 5 months after the date of the scheduling conference, provide a
        detailed explanation.

 The parties expect to be able to complete fact discovery within five months after the scheduling
 conference. The parties propose the following dates regarding discovery and a deadline for
 dispositive and Daubert motions:

 Wednesday, November 26, 2025: end of fact discovery.
 Tuesday, December 23, 2025: deadline for the disclosure of reports under Rule 26(a)(2)(B) or
       disclosures under Rule 26(a)(2)(C) for experts for Plaintiff.
 Thursday, January 22, 2026: deadline for the disclosure of reports under Rule 26(a)(2)(B) or
       disclosures under Rule 26(a)(2)(C) for experts for Defendants.
 Monday, February 23, 2026: deadline for any reports from any rebuttal experts for Plaintiff.
 Monday, March 23, 2026: deadline for completion of expert discovery.
 Tuesday, April 21, 2026: deadline for filing dispositive motions and Daubert motions.​




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 7.​ Motion Practice:

       A.​ Identify all pending motions.

 None pending.

       B.​ Does either party anticipate filing a case dispositive motion? If so, (i) identify the
           proposed motion and (ii) state a proposed deadline for dispositive motions.

 Both sides anticipate the potential for dispositive motions. Plaintiff anticipates the possibility of a
 motion for partial summary judgment on liability. The parties propose a deadline of April 21,
 2026, for dispositive motions.

 8.​ Alternative Dispute Resolution: (In accordance with Local Rule 16.3.1 and 28 U.S.C. ' 652,
     the parties must consider the use of alternative dispute resolution (ADR). State the position
     of the parties on whether this case is amenable to ADR and, if so, what form of ADR is
     considered most appropriate.

 Plaintiff is amenable to a settlement conference with the Magistrate Judge. Defendants do not
 have any settlement authority at this time but, if anything should change, remain amenable to a
 settlement conference with the Magistrate.

 9.​ Related Cases: (Is this case related to another case pending in the Western District of
     Louisiana? If yes, give the name, docket number and a brief description of the other case.

 None.

 10.​Trial by Magistrate Judge: (Do all parties consent to trial before the assigned magistrate
     judge?)

 No.


  /s/ J. Dalton Courson                                             /s/ Joshua J. Dara, Jr.
    Signature of Attorney for Plaintiff or Pro Se Plaintiff           Signature of Attorney for Defendant or Pro Se Defendant


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